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  GENERAL COUNSEL FOR
  SCOTT M. SEIDEL, TRUSTEE

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  In re:                                         §
                                                 §    Chapter 7
  GOODMAN NETWORKS, INC.,                        §
                                                 §    Case No. 22-31641-mvl-7
           Debtor.                               §

                                    NOTICE OF HEARING

         PLEASE TAKE NOTICE that the United States Bankruptcy Court for the Northern
 District of Texas, Dallas Division, has scheduled a hearing to consider the Trustee’s Motion Under
 Bankruptcy Rule 9019 for Approval of Limited Settlement Agreement With the Frinzi Family Trust,
 to be held on June 4, 2024 at 9:30 a.m., before the Honorable Michelle V. Larson, U.S.
 Bankruptcy Judge.

         PLEASE TAKE FURTHER NOTICE that, unless an objection to the foregoing motion is
 filed on or before May 31, 2024, the foregoing hearing may be cancelled and said motion granted
 without further notice.

      PLEASE TAKE FURTHER NOTICE that the hearing shall be hybrid: in person at 1100
 Commerce Street, 14th Floor, Courtroom #2, Dallas, TX 75242, or via the following WebEx link:

                          For WebEx Video Participation/Attendance:
                          Link: https://us-courts.webex.com/meet/larson

                     For WebEx Telephonic Only Participation/Attendance:
                                   Dial-In: 1-650-479-3207
                                 Access code: 160 135 6015

         Please see the attached WebEx Hearing Instructions for additional information regarding
 any virtual appearance.
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          RESPECTFULLY SUBMITTED this 10th day of May, 2024.

                                                    MUNSCH HARDT KOPF & HARR, P.C.


                                                    By: /s/ Davor Rukavina
                                                        Davor Rukavina, Esq.
                                                        Texas Bar No. 24030781
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                                                    GENERAL COUNSEL FOR SCOTT M.
                                                    SEIDEL, TRUSTEE




                                       CERTIFICATE OF SERVICE
         The undersigned hereby certifies that, on this the 10th day of May, 2024, true and correct
 copies of this document were electronically served by the Court’s ECF system on parties entitled
 to notice thereof, and that, on the same date, he caused true and correct copies of this document to
 be served by U.S. first class mail, postage prepaid, on the parties listed on the attached Service
 List.
                                                    By: /s/ Davor Rukavina
                                                        Davor Rukavina, Esq.




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                                     Judge Michelle V. Larson
 Pursuant to General Order 2023-05 issued by the Court on September 19, 2023, certain hearings before Judge
 Michelle V. Larson will be conducted by WebEx videoconference.

 For WebEx Video Participation/Attendance:
 Link:   https://us-courts.webex.com/meet/larson

 For WebEx Telephonic Only Participation/Attendance:
 Dial-In: 1.650.479.3207
 Access code: 160 135 6015

 Participation/Attendance Requirements:
 •       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged
         to attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and
         other parties in interest who will not be seeking to introduce any evidence at the hearing and who
         wish to attend the hearing in a telephonic only mode may attend the hearing in the WebEx
         telephonic only mode using the WebEx dial-in and meeting ID above.
 •       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please
         be advised that a hearing may already be in progress. During hearings, participants are required to
         keep their lines on mute at all times that they are not addressing the Court or otherwise actively
         participating in the hearing. The Court reserves the right to disconnect or place on permanent
         mute any attendee that causes any disruption to the proceedings. For general information and
         tips with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04:
         https://www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_
         0.pdf
 •       Unless the Court orders otherwise, witnesses are required to attend the hearing in the WebEx
         video mode and live testimony will only be accepted from witnesses who have the WebEx
         video function activated. Telephonic testimony without accompanying video will not be accepted
         by the Court.
 •       All WebEx hearing attendees are required to comply with Judge Larson’s Telephonic and
         Videoconference Hearing Policy (included within Judge Larson’s Judge-Specific Guidelines):
         https://www.txnb.uscourts.gov/content/judge-michelle-v-larson-0

 Exhibit Requirements:
 •       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in
         the case prior to the hearing, with a true and correct copy of each designated exhibit filed as a
         separate, individual attachment thereto so that the Court and all participants have ready access to all
         designated exhibits.
 •       If the number of pages of such exhibits exceeds 100, then such party must also deliver two (2) sets
         of such exhibits in exhibit binders to the Court by no later than twenty-four (24) hours in advance
         of the hearing.

 Notice of Hearing Content and Filing Requirements:
 IMPORTANT: For all hearings that will be conducted by WebEx only:
 •       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice
         that the hearing will be conducted by WebEx videoconference only, (2) provide notice of the above
         WebEx video participation/attendance link, and (3) attach a copy of these WebEx Hearing
         Instructions or provide notice that they may be obtained from Judge Larson’s hearing/calendar site:
         https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-larson-hearing-dates
 •       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
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       courts.webex.com/meet/larson” as the location of the hearing (note: this option appears
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        immediately after the first set of Wichita Falls locations). Do not select Judge Larson’s Dallas
        courtroom as the location for the hearing.
 •      Notice to Members of the Public. While the Judicial Conference of the United States relaxed
        its broadcasting policies during the COVID-19 Pandemic due to restrictions placed on in-
        person attendance at hearings and trials, these policies will expire and no longer be in effect
        after September 21, 2023. As a result, after September 21, 2023, remote video access to Court
        hearings shall only be available for case participants (parties-in-interest and their
        professionals) and non-case participants are not permitted to attend any hearing by remote
        video means. In certain circumstances, non-case participants may be permitted to attend
        proceedings by remote audio means, but only if no witness testimony is to be provided. The
        presiding judge may take any action deemed necessary or appropriate to address any
        unauthorized remote attendance at a hearing or trial. For the avoidance of doubt, members of
        the public will continue to generally be permitted to attend proceedings in person, in the
        courtroom.
